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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                             Plaintiff,

                        v.                      Case No. 1:21-cr-00047-RDM

HECTOR VARGAS,

                         Defendant.


      DEFENDANT’S UNOPPOSED MOTION FOR LEAVE TO BE ABSENT FROM HEARING

       Pursuant to Federal Rule of Criminal Procedure 43(b)(3), Defendant Hector Vargas,

through counsel, respectfully requests leave to be absent from the motions hearing scheduled

for March 7, 2023. In support of this Motion, Defendant states as follows:

       1. On February 7, 2023, the Court set a hearing for 2 p.m. on March 7, 2023,

          on Defendant’s Renewed Motion for Judgment of Acquittal [ECF No. 66] and

          Defendant’s Motion to Dismiss Count IV [ECF No. 52].

       2. Defendant is homeless, but became employed in October 2022, driving a

          box truck for a trucking company, picking up and delivering packages (e.g.,

          delivering purchases from Amazon.com). Because he is homeless,

          Defendant has been sleeping in his truck.

       3. Defendant missed work during the four days of this trial, and fears that he

          will lose his employment if he is required to miss more time.

       4. Given Defendant’s straitened circumstances, the cost of traveling from his

          home in New Jersey to the District of Columbia for the hearing would pose

          a significant burden on him.
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      5. Counsel for the United States has informed undersigned counsel that the

          United States has no objection to this Motion.

      WHEREFORE, pursuant to Federal Rule of Criminal Procedure 43(b)(3), Defendant

respectfully requests that the Court grant him leave to be absent from the March 7, 2023,

motions hearing.

Date: February 8, 2023              Respectfully submitted,

                                       /s/ Paul F. Enzinna
                                     Ellerman Enzinna Levy PLLC
                                     1050 30th Street, NW
                                     Washington, DC 20007
                                     202.753.5553
                                     penzinna@eellaw.com

                                     Nandan Kenkeremath
                                     DC Bar No. 384732
                                     2707 Fairview Court
                                     Alexandria, Virginia 22311
                                     703-407-9407
                                     nandank@comcast.net

                                     Counsel for Defendant Hector Vargas

                                     CERTIFICATE OF SERVICE

         I certify that on February 8, 2023, a copy of the foregoing Supplement to Defendant’s
Motion for Leave to be Absent from Motions Hearing was filed using the CM/ECF system, which
will then send notification of such filing to all counsel of record.

Dated: February 8, 2023               Respectfully submitted,


                                         /s/ Paul F. Enzinna
                                      Ellerman Enzinna Levy PLLC
                                      1050 30th Street, NW
                                      Washington, DC 20007
                                      202.753.5553
                                      penzinna@eellaw.com

                                      Counsel for Defendant Hector Vargas


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